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                                                         Presentment Date: November 24, 2021, at 12:00 p.m. (ET)
                                                        Objection Deadline: November 24, 2021, at 11:00 a.m. (ET)

Bradford J. Sandler, Esq.
Shirley S. Cho, Esq.
Beth E. Levine, Esq.
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, NY 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777
Email: bsandler@pszjlaw.com
           scho@pszjlaw.com
           blevine@pszjlaw.com

Counsel to the Plan Administrator


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :                   Chapter 11
                                                               :
HSP LIQUIDATION, LLC, et al.,               1                  :                   Case No. 19-11608 (MEW)
                                                               :
                                                               :                   Jointly Administered
                  Debtors.                                     :
---------------------------------------------------------------x

                  STIPULATION AND AGREED ORDER RESOLVING
              ORACLE AMERICA, INC.’S REQUEST FOR ALLOWANCE AND
          PAYMENT OF CHAPTER 11 ADMINISTRATIVE EXPENSES, AS AMENDED

           This stipulation (the “Stipulation”) is made between Drivetrain, LLC, in its capacity as the

trustee and administrator of the Wind-Down Trust2 (the “Plan Administrator”), acting on behalf of

HSP Liquidation, LLC (f/k/a Hollander Sleep Products, LLC), and its affiliated post-effective date

debtors (collectively, the “Post-Effective Date Debtors” and before the Effective Date of the Plan, the

“Debtors”) on the one hand and Oracle America, Inc. and Oracle Credit Corporation (“Oracle”) on


1
 The Post-Effective Date Debtors in these chapter 11 cases, along with the last four digits of each Post-Effective Date
Debtor’s federal tax identification number are: Dream II Holdings, LLC (7915); HHFH Liquidation, LLC (2063);
HSP Liquidation, LLC (2143); PCF Liquidation, LLC (1445); HSPK Liquidation, LLC (4119); PCFC Liquidation,
LLC (3119); and HSPC Liquidation Limited (3477).
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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Plan.




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the other hand (the Plan Administrator and Oracle, collectively, the “Parties”), by and through the

undersigned counsel.

                                           RECITALS

        WHEREAS, on May 19, 2019, Hollander Sleep Products, LLC and its affiliated Debtors

filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the

Bankruptcy Cases”) in the United States Bankruptcy Court for the Southern District of New York

(the “Bankruptcy Court”); and

        WHEREAS, on September 3, 2019, the Debtors filed the Debtors’ Modified First

Amended Joint Plan Pursuant to Chapter 11 of the Bankruptcy Code (the “Plan”) [Docket No.

346]; and

        WHEREAS, on September 5, 2019, the Court entered the Findings of Fact, Conclusions

of Law, and Order Confirming the Debtors’ Modified First Amended Joint Plan Pursuant to

Chapter 11 of the Bankruptcy Code [Docket No. 356]; and

        WHEREAS, on September 13, 2019, the Effective Date occurred; and

        WHEREAS, on September 13, 2019, the Debtors filed the Fourth Amended Plan

Supplement for the Debtors’ Modified First Amended Joint Plan Pursuant to Chapter 11 of the

Bankruptcy Code, which included the Wind-Down Trust Agreement at Exhibit G (the “Wind-

Down Trust”) [Docket No. 370]; and

        WHEREAS, pursuant to the Wind-Down Trust Agreement, Drivetrain, LLC was

appointed as the trustee and administrator of the Wind-Down Trust in its capacity as the Plan

Administrator; and

        WHEREAS, pursuant to Article IV.D of the Plan, the Plan Administrator is responsible

for resolving Claims; and




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        WHEREAS, on July 26, 2019, Oracle filed a proof of claim identified as claim number 313

(“Claim 313”) on the Claims Register asserting a non-priority general unsecured claim in the amount

of $725,377.25 against Debtor Hollander Sleep Products, LLC on account of prepetition services.

        WHEREAS, on October 8, 2019, Oracle filed a proof of claim identified as claim number

407 (“Claim 407”) on the Claims Register, which superseded and amended Claim 313, asserting a

non-priority general unsecured claim in the amount of $1,011,626.97 against Debtor Hollander Sleep

Products, LLC on account of rejection damages.

        WHEREAS, on October 15, 2019, Oracle filed a Request for Allowance and Payment of

Chapter 11 Administrative Expenses [Docket No. 407], as amended on February 17, 2021 [Docket

No. 523] (the “Administrative Expense Request”), seeking payment of an administrative expense

claim in the amount of $155,570.20.

        WHEREAS, the Plan Administrator and Oracle have agreed to resolve all disputes regarding

the Administrative Expense Request on the terms and conditions set forth in this Stipulation.

                                          STIPULATION

        NOW, THEREFORE, in consideration of the foregoing, the Parties hereby agree and

stipulate as follows:

        1.       The foregoing recitals are hereby fully incorporated into and made an express part

of this Stipulation.

        2.       This Stipulation is made expressly contingent upon approval of and entry by the

Bankruptcy Court and, should the Stipulation not be approved and entered, the Parties will be

deemed to have returned to their respective positions immediately prior to the execution of this

Stipulation with all rights and privileges reserved.




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        3.       In full and complete satisfaction of the Administrative Expense Request, Oracle

shall receive an allowed administrative expense claim in the reduced amount of $14,000.00 (the

“Allowed Administrative Claim”). Oracle agrees that it shall not be entitled to, and waives the

right to, receive any distribution on Administrative Expense Request other than the Allowed

Administrative Claim.

        4.       Claim 407 shall be reduced by $14,000 and allowed in the amount of $997,626.97

(the “Allowed Unsecured Claim”).

        5.       The Allowed Administrative Claim and the Allowed Unsecured Claim shall be paid

to Oracle in accordance with the Plan.

        6.       This Stipulation shall be binding upon, and shall inure to the benefit of each of, the

Plan Administrator, the Post-Effective Date Debtors, Oracle, and each of their respective agents,

employees, representatives, assigns, successors in interest, and attorneys, and shall be binding and

effective.

        7.       Oracle represents that it has not transferred any claim (or any portion thereof) that

is the subject of this Stipulation.

        8.       Each of the Parties shall be responsible for its respective costs and expenses

(including, without limitation, attorneys’ fees and expenses) incurred by it in negotiating, drafting,

and executing this Stipulation and shall not be responsible for the payment of any such fees or

expenses incurred by any other party hereto.

        9.       This Stipulation constitutes the entire agreement between the Parties and may not

be amended or modified in any manner except by a writing signed by both of the Parties or their

counsel and approved by the Bankruptcy Court.




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        10.      This Stipulation shall be governed by and construed in accordance with the laws of

the State of New York without regard to any law concerning the conflicts of laws.

        11.      Each Party and signatory to this Stipulation represents and warrants to each other

Party that such Party or signatory has full power, authority, and legal right and has obtained all

approvals and consents necessary to execute, deliver, and perform all actions required under this

Stipulation and, where applicable, has obtained all authority, approvals, and consents necessary to

act on behalf of another Party to execute, deliver, and perform all actions required under this

Stipulation.

        12.      The Bankruptcy Court shall retain exclusive jurisdiction to hear and finally

determine all disputes arising from or related to this Stipulation, including the performance of the

Parties’ obligations hereunder and the interpretation of this Stipulation. The Parties each consent

to the Bankruptcy Court hearing and finally determining all such disputes. Further, the Parties

each agree to waive trial by jury in an action, proceeding, or counterclaim brought by or on behalf

of the Parties hereto with respect to any such dispute.

 Dated: November 17, 2021                        DRIVETRAIN, LLC

                                                 /s/ Shirley S. Cho
                                                 Bradford J. Sandler, Esq.
                                                 Shirley S. Cho, Esq.
                                                 Beth E. Levine, Esq.
                                                 PACHULSKI STANG ZIEHL & JONES LLP
                                                 780 Third Avenue, 34th Floor
                                                 New York, NY 10017
                                                 Telephone: (212) 561-7700
                                                 Email: bsandler@pszjlaw.com
                                                            scho@pszjlaw.com
                                                            blevine@pszjlaw.com

                                                 Counsel to the Plan Administrator
                                                 Drivetrain, LLC




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 Dated: November 17, 2021                    ORACLE AMERICA, INC. and ORACLE
                                             CREDIT CORPORATION

                                             /s/ Amish R. Doshi
                                             Amish R. Doshi, Esq.
                                             DOSHI LEGAL GROUP, P.C.
                                             1979 Marcus Avenue, Suite 210E
                                             Lake Success, New York 11042
                                             Telephone: (516) 622-2335
                                             E-Mail: amish@doshilegal.com


                                             Shawn M. Christianson, Esq.
                                             BUCHALTER, A Professional Corporation
                                             55 Second Street, Suite 1700
                                             San Francisco, CA 94105-3493
                                             Telephone: (415) 227-3575
                                             Email:    schristianson@buchalter.com

                                             Counsel for Oracle America, Inc. and Oracle Credit
                                             Corporation

SO ORDERED:
_______________, 2021



HONORABLE MICHAEL E. WILES
UNITED STATES BANKRUPTCY JUDGE




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